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              IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA       §
                               §
VS.                            §              CRIMINAL NO.        4:13-CR-030-Y
                               §
FELIPE RAMIREZ-ARELLANO (19)   §
ANDRES TORRES-ROSALES (20)     §
VALENTIN MONJARAS-PICHARDO 21) §


                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

       After reviewing all relevant matters of record, including the

respective Consents to Administration of Guilty Plea and Federal

Rule    of   Criminal     Procedure      11   Allocution     by    United   States

Magistrate Judge and the Report and Recommendation on Plea Before

the United States Magistrate Judge, and no objections thereto

having been filed by any defendant within fourteen (14) days of

service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

district judge concludes that each report and recommendation of the

magistrate judge on each plea of guilty is correct, and each is

hereby accepted by the Court.            Accordingly, the Court accepts each

plea of guilty, and each defendant is hereby adjudged guilty. Each

defendant’s    sentence      will   be    imposed    in    accordance    with   the

sentencing scheduling order previously issued as to each defendant.

       SIGNED May 8, 2013.


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                                              TERRY R. MEANS
                                              UNITED STATES DISTRICT JUDGE
